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          UNITED STATES DISTRICT COURT
                                  District of Kansas
                                    (Wichita Docket)

UNITED STATES OF AMERICA,

                     Plaintiff,                  CASE NO.        20-cr-10042-01-EFM

              v.

JAIDYN L. IRVING,
              Defendant.



                                   INDICTMENT

       The Grand Jury Charges:

                                       COUNT 1
                          18 U.S.C. '' 922(o)(1) and 924(a)(2)
                             (Possession of a Machinegun)

       On or about, August 7, 2019, in the District of Kansas, the defendant,

                                   JAIDYN L. IRVING,

knowingly possessed a machine gun, to wit: a Century Arms, model RAS47, 7.62 X 39

Caliber semi-automatic rifle which has a collapsible stock attached to its receiver that is

identified as being a “Slide Fire” bump stock.

       In violation of Title 18, United States Code, Sections 922(o), 924(a)(2), 921(a)(23)

and 27 CFR parts 478.11 and 479.11.

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                                       COUNT 2
                        18 U.S.C. '' 924(c) and 924(c)(1)(A)(i)
             (Possession of a Firearm in Furtherance of Drug Trafficking)

       On or about, August 7, 2019, in the District of Kansas, the defendant,

                                   JAIDYN L. IRVING,

did unlawfully, knowingly, and intentionally possess a firearm to wit: Century Arms,

model RAS47, 7.62 X 39 Caliber semi-automatic rifle which has a collapsible stock

attached to its receiver that is identified as being a “Slide Fire” bump stock, in furtherance

of any drug trafficking crime, to wit: possession with the intent to distribute a Schedule I

controlled substance, Tetrahydrocannabinol (a compound of Marihuana).

       In violation of Title 18, United States Code, Section 924(c).

                                     COUNT 3
                          21 U.S.C. '' 841(a) and (b)(1)(D)
         (Possession of Tetrahydrocannibanol with the Intent to Distribute)

       On or about August 7, 2019, in the District of Kansas and elsewhere, the

defendant,

                                JAIDYN L. IRVING,

unlawfully, knowingly, and intentionally possessed less than 50 kilograms of a mixture

and substance containing a detectable amount of Tetrahydrocannabinol (a compound of

Marihuana), a Schedule I controlled substance, with the intent to distribute said

controlled substance.

       In violation of Title 21, United States Code, Section 841(a)(1), with reference to

Title 21, United States Code, Sections 841(b)(1)(D); 802(16)(A) and 812.


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                                   FORFEITURE NOTICE

       1.      The allegations of Counts 1 through 3 of this Indictment are re-alleged and

fully incorporated herein for the purpose of alleging forfeiture to the United States of

America pursuant to Title 21, United States Code, Section 853 and Title 18, United States

Code, Section 924 and Title 28, United States Code, Section 2461.

       2.      Upon conviction of one or more of the offenses alleged in Counts 1 through

3 of this Indictment,

                                     JAIDYN L. IRVING,

shall forfeit to the United States pursuant to Title 21, United States Code, Section 853,

any property constituting, or derived from, proceeds obtained, directly or indirectly, as a

result of the said violations and any property used, or intended to be used, in any manner

or part, to commit, or to facilitate the commission of the said violations, including but not

limited to the following:

               A.        a Century Arms, model RAS47, 7.62 X 39 Caliber semi-automatic
                        rifle SN RAS47069698, which has a black plastic polymer and metal
                        collapsible stock attached to its receiver that is identified as being a
                        “Slide Fire” bump stock firearm,

               B.       A “Slide Fire” bump stock, and

               C.       any magazines and/or ammunition.

       All in violation of Title 21, United States Code, Section 853.

       3.      The allegations contained in Counts 1 through 3 of this Indictment are

hereby re-alleged and incorporated by reference for the purpose of alleging forfeiture




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pursuant to Title 18, United States Code, Section 924(d) and Title 28, United States

Code, Section 2461(c).

       4.      Upon conviction of the offenses set out in Counts 1 and 2 of this

Indictment, the defendant,

                                   JAIDYN L. IRVING,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section

924(d); and Title 28, United States Code, Section 2461(c), any firearms and ammunition

used or involved in the commission of the offense, including, but not limited to:

               A.      a Century Arms, model RAS47, 7.62 X 39 Caliber semi-automatic
               rifle SN RAS47069698, which has a black plastic polymer and metal
               collapsible stock attached to its receiver that is identified as being a “Slide
               Fire” bump stock firearm,

               B.     A “Slide Fire” bump stock, and

               C.     any magazines and/or ammunition.

       All in violation of Title 18, United States Code, Section 924(d) and Title 28,

United States Code, Section 2461(c).

                                  SUBSTITUTE ASSETS

       5.      If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:

               A. cannot be located upon the exercise of due diligence;

               B. has been transferred or sold to, or deposited with, a third party;

               C. has been placed beyond the jurisdiction of the court;

               D. has been substantially diminished in value; or


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              E. has been commingled with other property which cannot be divided
              without difficulty;

the United State of America shall be entitled to forfeiture of substitute property pursuant

to, pursuant to Title 21, United States Code, Section 853(p).

       All in violation of Title 21, United States Code, Section 853,

                                                 A TRUE BILL.


 July 14, 2020                                    s/Foreperson
DATE                                             FOREPERSON OF THE GRAND JURY


STEPHEN R. McALLISTER
UNITED STATES ATTORNEY

By: /s/ Mona L. Furst
MONA L. FURST
Assistant United States Attorney
District of Kansas
1200 Epic Center, 301 N. Main
Wichita, Kansas 67202
Ph: (316) 269-6481
Fax: (316) 269-6484
Email: Mona.Furst@usdoj.gov
Ks. S. Ct. No. 13162




          IT IS REQUESTED THAT THE TRIAL BE HELD IN WICHITA, KANSAS




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